Case 2:17-cv-07225-FMO-AGR Document 33 Filed 12/14/18 Page 1 of 14 Page ID #:165
Case 2:17-cv-07225-FMO-AGR Document 33 Filed 12/14/18 Page 2 of 14 Page ID #:166
Case 2:17-cv-07225-FMO-AGR Document 33 Filed 12/14/18 Page 3 of 14 Page ID #:167
Case 2:17-cv-07225-FMO-AGR Document 33 Filed 12/14/18 Page 4 of 14 Page ID #:168
Case 2:17-cv-07225-FMO-AGR Document 33 Filed 12/14/18 Page 5 of 14 Page ID #:169
Case 2:17-cv-07225-FMO-AGR Document 33 Filed 12/14/18 Page 6 of 14 Page ID #:170
Case 2:17-cv-07225-FMO-AGR Document 33 Filed 12/14/18 Page 7 of 14 Page ID #:171
Case 2:17-cv-07225-FMO-AGR Document 33 Filed 12/14/18 Page 8 of 14 Page ID #:172
Case 2:17-cv-07225-FMO-AGR Document 33 Filed 12/14/18 Page 9 of 14 Page ID #:173
Case 2:17-cv-07225-FMO-AGR Document 33 Filed 12/14/18 Page 10 of 14 Page ID #:174
Case 2:17-cv-07225-FMO-AGR Document 33 Filed 12/14/18 Page 11 of 14 Page ID #:175
Case 2:17-cv-07225-FMO-AGR Document 33 Filed 12/14/18 Page 12 of 14 Page ID #:176
Case 2:17-cv-07225-FMO-AGR Document 33 Filed 12/14/18 Page 13 of 14 Page ID #:177
Case 2:17-cv-07225-FMO-AGR Document 33 Filed 12/14/18 Page 14 of 14 Page ID #:178
